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 1   MARK J. REICHEL, State Bar #155034
     THE LAW OFFICES OF TH
                         MARK J. REICHEL
 2   555 CAPITOL MALL, 6 FLOOR, Suite 600
     Sacramento, California 95814
 3   Telephone: (916) 498-9258
     FAX:        (916) 441-6553
 4   mark@reichellaw.com
     www.reichellaw.com
 5
     Attorney for Defendant
 6   DINO ROSETTI
 7
 8                          IN THE UNITED STATES DISTRICT COURT
 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                       )   Case No. CR-S-08-474 EJG
                                                     )
12                          Plaintiff,               )   STIPULATION OF THE PARTIES
                                                     )   FOR MODIFICATION OF PRETRIAL
13          v.                                       )   RELEASE SPECIAL CONDITION
                                                     )   NUMBER 6; ORDER
14                                                   )
                                                     )   Date: N/A
15   DINO ROSETTI                                    )   Time: N/A
                                                     )   Judge: KIMBERLY J. MUELLER
16                Defendants.
     __________________________
17
            The parties hereto, plaintiff, defendant, and the
18
     Pretrial Services Agency, hereby agree to the following
19
     modification of Special Condition of Release 6:
20
            Defendant shall be allowed to do the bookkeeping and pay
21
     bills for his office, at that business, and he shall be
22
     allowed to meet with Real Estate Agents at the office and at
23
     their respective offices, and he shall not be allowed to
24
     directly or indirectly work in the mortgage loan funding
25
     process.
26
27
28   Stipulation to modify pretrial release; Order
              Case 2:08-cr-00474-WBS Document 24 Filed 12/03/08 Page 2 of 2


 1          All other terms and conditions of the defendant's pre
 2   trial release shall remain in full force and effect.
 3              AGREED
 4   DATED: November 26, 2008                            /s/ MARK J. REICHEL
                                                         MARK J. REICHEL
 5                                                       Attorney for Defendant
 6
                                                         McGREGOR W. SCOTT
 7                                                       United States Attorney
 8
     DATED: November 26, 2008.                           /s/MARK J. REICHEL for:
 9
                                                         COURTNEY LINN
10                                                       Assistant U.S. Attorney
                                                         Attorney for Plaintiff
11
     DATED: November 26, 2008
12
                                                         /S/ MARK J. REICHEL for
13
                                                         STEVE SHEEHAN
14                                                       Pre Trial Services Officer
15                                                   ORDER
16          IT IS SO ORDERED.                 All remaining conditions shall remain
17   In full force and effect.
18
     DATED: December 1, 2008.
19
20
21
22
23
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28


     Stipulation to modify pretrial release; Order       2
